 	  
Case 2:17-cv-00192-JRG-RSP Document 39 Filed 08/15/17 Page 1 of 2 PageID #: 217




                              THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION


 DISPLAY TECHNOLOGIES, LLC,

                             Plaintiff,
                                                                Civil Action No. 2:17-cv-192
                     v.
                                                              JURY TRIAL DEMANDED
 CANON U.S.A., INC.,

                             Defendant.


                            PLAINTIFF’S NOTICE OF COMPLIANCE WITH
                          PARAGRAPHS 1 AND 3 OF THE DISCOVERY ORDER

                     Plaintiff Display Technologies, LLC (“Display”) by and through its

        undersigned counsel, hereby gives notice that it served upon Defendant’s counsel its Initial

        and Additional Disclosures pursuant to Paragraphs 1 and 3 of the Discovery Order.


                                                   Respectfully submitted,

                                                   /s/ Thomas C. Wright
                                                   THOMAS C. WRIGHT
                                                   State Bar No. 24028146
                                                   Alex J. Whitman
                                                   State Bar No. 24081210
                                                   CUNNINGHAM SWAIM, LLP
                                                   7557 Rambler Road, Suite 400
                                                   Dallas, Texas 75231
                                                   Phone: 214-646-1495
                                                   Facsimile: 214-613-1163
                                                   twright@cunninghamswaim.com

                                                   ATTORNEYS FOR DEFENDANTS DISPLAY
                                                   TECHNOLOGIES, LLC
 	  
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                                 CERTIFICATE OF SERVICE

        The undersigned certifies that on this 15th day of August, 2017, all counsel of record were
 served with this document in accordance with the applicable Federal Rules of Civil Procedure.


                                              /s/ Thomas C. Wright
                                              Thomas C. Wright
